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THE FIERST LAW GROUP, P.C.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
xX

 

K & § PRODUCE, INC.
Case No. 1:20-cv-08786-GHW

Plaintiff,
-against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

Defendants.
xX

 

MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR DEFAULT

JUDGMENT AGAINST 100 BROAD STREET, LLC a/k/a ESSEN FOOD, ESSEN22

LLC a/k/a ESSEN FOOD, JOHN BYUN, CHONG WON BYUN, and WILLIAM BYUN
Plaintiff, K & S PRODUCE, INC. (“K & S” or “Plaintiff’), by its attorneys, The Fierst
Law Group, P.C., respectfully submits this Memorandum of Law in support if its motion for
entry of a default judgment against the defendants 100 BROAD STREET, LLC a/k/a ESSEN
FOOD (“100 Broad”), ESSEN22 LLC a/k/a ESSEN FOOD (“Essen22”), JOHN BYUN (John
Byun”), CHONG WON BYUN (“Chong Won Byun”) and WILLIAM BYUN (“William
Byun”), jointly and severally (collectively, the “Defendants”).
INTRODUCTION

This is an action arising under the Perishable Agricultural Commodities Act of 1930, 7
U.S.C. §§499a-499q (“PACA”). K & S is engaged in the business of buying and selling
wholesale quantities of perishable agricultural commodities (“Produce”) in interstate commerce

and operates its business under a valid USDA issued PACA license. The complaint filed by
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Plaintiff in this action sets forth causes of action against the Defendants ari sing out of their
failure to pay Plaintiff for produce sold to them by Plaintiff. As alleged in the Complaint,
John Byun, Chong Won Byun and William Byun are the principals of the 100 Broad and Essen
22 ( collectively the Company”) and controlled the PACA assets of the Company during all time
relevant to this action. A copy of the Complaint is annexed as Exhibit A to the Declaration of
Timothy J. Fierst, Esq., submitted in support of Plaintiff's Motion (the “Fierst Decl.”).
From on or about December 24, 2018 through and including March 13, 2020, K & S sold
to Defendants various lots of Produce worth a total of $525,715.27, divided as follows:
100 Broad Street- $198,778.90
Essen22-$326,936.37.
K & S did not receive payment for the Produce which it delivered and is still owed the principal
amount of $525,715.27.
The proceeds realized by the Defendants from the sale of the Produce sold to them on
credit by Plaintiff constitute trust assets (the “Trust Assets”). The Defendants had a duty to
ensure that the Trust Assets were used to pay Plaintiff for the produce it delivered. Defendants

failed to pay Plaintiff and are therefore responsible for Plaintiff's losses.
HISTORY AND SCOPE OF PACA

In 1930, Congress enacted PACA “to suppress unfair and fraudulent practices in the
marketing of fruits and vegetables in interstate and foreign commerce.” 49 Fed. Reg. 45737.
Thus, PACA requires produce dealers to make “full payment promptly” for any produce they
purchase. 7 U.S.C. §499(b)(4).

In 1984, PACA was amended to “increase the legal protection for unpaid sellers and
suppliers of perishable agricultural commodities until full payment of sums due has been
received by them.” See Tanimura & Anitle, Inc .v. Packed Fresh Produce, Inc., 222 F.3d 132 (3d
Cir. 2000); see also Frio Ice, S.A. v. Sunfruit, Inc., 918 F.2d 154, 159 (11™ Cir. 1990) (“the
central purpose of Section 499e(c) is to ensure payment to trust beneficiaries’)

To carry out this intent, Section 499e(c) of PACA imposes a statutory trust on all produce
related assets, including the produce itself, other products derived from the produce and any

receivables or proceeds from the sale of the produce, held by agricultural merchants, dealers and
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brokers (the “PACA Trust”). The PACA Trust must be maintained for the benefit of all unpaid
suppliers and sellers of the produce until full payment has been made. 7 U.S.C. §499e(c)(2).
To preserve its trust rights, a supplier of perishable agricultural commodities subject to
PACA must provide written notice to the parties it contracts with of its intent to preserve its
PACA trust rights. U.S.C. §499e(c)(3).
PACA specifically permits a supplier to preserve its trust rights by including certain
language on its “ordinary and usual billing or invoice statements.” 7 U.S.C. §499e(c)(4).

ARGUMENT

A. Plaintiff Entitled to a Default Judgment Against Defendants

It is well settled that a ‘‘Party’s default is deemed to constitute a concession of all well
pleaded allegations of liability.” Greyhound Exhibitgroup, Inc. v. E.L.U.L Realty Corp, 973 F.2d
155, 158 (2d Cir. 1992). In this case, the Defendants’ default acts as a concession of the facts
that: (i) Defendants entered into contracts with K & S whereby K & S was to deliver produce on
credit to Defendants; (11) K & S delivered the Produce to the Defendants; (iii) Defendants
accepted the Produce; and (iv) failed to pay K & S for the Produce as referenced within the
invoices sent to Defendants by K & S. Moreover, Defendants concede that K & S properly
preserved its PACA trust rights by including the required statutory language within its invoices.

The evidence submitted by K & S clearly establishes that K & S is entitled to a default
judgment against defendant 100 Broad in the amount of $198,778.90 and Essen22 in the amount
of $326,936.37 and Judgment in favor of the Plaintiff against John Byun, Chon Won Byun, and
William Byun jointly and severally, in the amount of $525,715.27 as demanded in the
Complaint, plus interest at the New York statutory rate of 9% per annum.

K & S preserved its PACA Trust rights by including the following statement on each of
its invoices:

The perishable agricultural commodities listed on this invoice are sold
subject to the statutory trust authorized by section 5(c) of the Perishable
Agricultural Commodities Act, 1930 (7 U.S.C. §499e(c)). The seller of
these commodities retains a trust claim over these commodities, all
inventories of food or other products derived from these commodities,
and any receivable or proceeds for the same or these commodities until
fully payment is received.
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See invoices attached as Ex. A to the Complaint.

Pursuant to PACA, 7 U.S.C. §499e(c), at the time of Defendants’ receipt of the Produce,
Defendants became trustees of a trust under PACA Trust for the benefit of K & S in the amount
of $525,715.27. Defendants, by failing to pay to K & S the amounts due pursuant to the invoices,
violated PACA. As such, K & S is entitled to a default judgment against Defendant 100 Broad
in the amount of $198,778.90 and Essen22 in the amount of $326,936.37 and against John Byun,
Chon Won Byun, and William Byun jointly and severally, in the amount of $525,715.27 plus
pre-judgment and post-judgment interest at the rate of 9% per annum.

K & S is entitled to a default judgment against John Byun, Chon Won Byun, and William
Byun since it is well settled that a person who is in a position to oversee the proper application of
the PACA Trust assets, and who does not preserve the trust assets for the beneficiaries, for
whatever reason and however innocent, has breached a fiduciary duty and is personally liable for
the tortuous act. See Sunkist Growers, Inc. y. Fisher, 104 F.3d 280, 283 (9" Cir. 1997) (“We
agree that individual shareholders, officers, directors of a corporation who are in a position to
control PACA trust assets and who breach their fiduciary duty to preserve these assets may be
held personally liable under the Act”); Golman-Hayden Co., Inc. v. Fresh Source Produce, Inc.,
217 F.3d 348 (5 Cir. 2000) (an individual in a position to control PACA trust assets is
personally liable under PACA regardless of whether he exercised that control); Reds Market v.
Cape Canaveral Cruise Line, Inc., 181 F.Supp.2d 1339 (M.D. Fla. 2002) (individual in control
of PACA trust assets is liable for failure to preserve trust res without regard whether failure was
intentional or whether individual was responsible corporate officer); Morris Okun, Inc. v.
Zimmerman, Inc., 814 F.Supp.346 (S.D.N.Y. 1993) (“An individual who is in the position to
control the trust assets and who does not preserve them for the beneficiaries has breached a

fiduciary duty, and is personally liable for that tortious act.”). As explained by the Court in

Morris Okun, “[A] PACA trust in effect imposes liability on a trustee, whether a corporation or
controlling person of that corporation, who uses the trust assets for any purpose other than

repayment of the supplier.” Jd.

When deciding whether an individual is a controlling person of a corporation courts focus
on whether the individual controls day to day operations of the company (see, e.g., Morris Okun,

Inc. v. Zimmerman, Inc., 814 F.Supp. at 349) and whether he has signed checks on behalf of the

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corporation (see, e.g., R Best Produce, Inc. v. 646 Corp., 2002 WL 31453909, *6 (S.D.N.Y.
2002)).

Here, John Byun, Chon Won Byun, and William Byun are the principals of the Company
and are in control of the day to day operations of the Company. John Byun, Chon Won Byun,
and William Byun ordered Produce from K & S on behalf of the Company. Since John Byun,
Chon Won Byun, and William Byun are the principals of the Company and therefore responsible
for the activities of the Company, they were responsible for ensuring that the PACA Trust assets
were not dissipated and were used instead to pay K & S and John Byun, Chon Won Byun, and
William Byun failed to fulfill their duties as trustee and is therefore liable to K & S. None of the

Defendants have contested or opposed these facts contained in the Complaint.

B. K & S is Entitled to an Award of Attorneys’ Fees
In the case at bar, Plaintiff is entitled to an award of attorneys’ fees pursuant to the terms

of the parties’ contract as manifested on the fact of the invoices sent to the Defendants by K & S.
See Ex. A and B to the Complaint, Ex. A to the Fierst Decl.

PACA specifically provides that the trust assets shall be held in trust by the receiver for
the benefit of the unpaid beneficiary until payment of all sums owing in connection with the
transaction has been received. 7 U.S.C. §499e(c)(2). Since the parties’ contract calls for the
payment of attorneys’ fees these amounts may be considered sums owing in connection with the
transaction. E. Armata, Inc. v. Platinum Funding, 887 F.Supp.590, 594-595 (E.D.N.Y. 1995).
The invoices setting forth the terms of the parties’ contract are unequivocally clear that K & S is
entitled to collect from Defendants attorneys’ fees and costs associates with any legal
proceedings brought to enforce K & S °s PACA Trust rights. See Ex. A and B to the Complaint,
Ex. A to the Fierst Decl. Therefore, Plaintiff should be awarded the attorneys’ fees.

3 An Inquest is Not Required in this Action
While a default judgment constitutes an admission of liability, a quantum of damages

remained to be established by proof unless the amount is liquidated or susceptible of
mathematical computation. Flaks v. Koegel, 504 F.2d 702, 707 (2d Cir. 1974).

In order to ascertain the amount of damages, the court must conduct an inquiry sufficient
to establish them to a “reasonable certainty,” and documentary evidence can suffice in lieu of an

evidentiary hearing. Pineda v. Masonry Construction, Inc., 831 F.Supp.2d 666,675 (S.D.N.Y.

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2011). A motion for a default judgment pursuant to Fed.R.Civ.P. 55(b)(2) authorizes a hearing

on damages, but a hearing on damages is not required as long as it is ensured that there is a basis
provided for the award of the damages. Action S.Z. v. Marc Rich & Co., Inc., 951 F.2d 504, 508
(2d Cir. 1991).

In the case at bar, K & S demands a judgment for a “sum certain,” in an amount clearly
established by the documentary evidence annexed to the Complaint, as well as in the Declaration
of Lee Pakulsky submitted in support of K & S ’s pending motion for a default judgment (the
“Lee Decl.”).

There is no issue of fact that would otherwise need to be resolved at a separate inquest
hearing on damages; the proof is already before the Court in evidentiary form. See the Fierst
Decl. and the Lee Decl. and exhibits annexed thereto.

CONCLUSION

Based upon the foregoing, and the facts stated within the Fierst Decl. and the Lee Decl.
and the exhibits annexed thereto, it is respectfully requested that a default judgment issue in
favor of K & S and against defendant 100 Broad in the amount of $198,778.90 and Essen 22 in
the amount of $326,936.37 and in favor of Plaintiff and against the defendant John Byun, Chon
Won Byun, and William Byun jointly and severally, in the amount of $525,715.27, together with
pre and post judgment interest at the legal rate of 9 %, plus attorneys’ fees and costs of this

action.

Dated: February 17, 2021

 

 

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